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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

TAYLOR SHELTON, individually and on behalf            )
of all others similarly situated,                     )
                                                      )
               Plaintiff,                             )
                                                      )
v.                                                    ) Case No. 3:21-cv-408
                                                      )
SUPERVALU INC., and UNITED NATURAL                    )
FOODS, INC.,                                          ) JURY DEMANDED
                                                      )
               Defendants.                            )

                                    NOTICE OF REMOVAL

       Defendants Supervalu Inc. (“Supervalu”) and United Natural Foods, Inc. (“UNFI”)

(collectively, “Defendants”), file this Notice of Removal of this action from the Circuit Court of

Madison County, Illinois, to the United States District Court for the Southern District of Illinois,

East St. Louis Division, pursuant to 28 U.S.C. §§ 1332(d), 1441, 1446, and 1453.

I.     INTRODUCTION

       1.      Plaintiff Taylor Shelton alleges that Defendants have violated the Illinois Consumer

Fraud and Deceptive Business Practices Act (“ICFA”) and been unjustly enriched by selling

various Essential Everyday-brand ground coffee products (collectively, the “Products”) in

containers that incorrectly state the number of cups of coffee each container yields.

       2.      The complaint was filed in the Circuit Court of Madison County on or about

March 8, 2021, a true and correct copy of which is attached hereto as Exhibit A.

       3.      Plaintiff Taylor Shelton is a citizen of Illinois. (See Compl. ¶ 5.)

       4.      At the time this lawsuit was filed and at all times since, UNFI was and is a

corporation organized under the laws of the State of Delaware with its principal place of business

in Providence, Rhode Island. (Compl. ¶ 6.) Therefore, at the time this action was filed and at all
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times since, UNFI was a citizen of Delaware and Rhode Island. 28 U.S.C. § 1332(c)(1).

        5.      At the time this lawsuit was filed and at all times since, Supervalu was and is a

corporation organized under the laws of the State of Delaware with its principal place of business

in Eden Prairie, Minnesota. (Compl. ¶ 7.) Therefore, at the time this action was filed and at all

times since, Supervalu was a citizen of Delaware and Minnesota. 28 U.S.C. § 1332(c)(1).

        6.      Plaintiff seeks actual and punitive damages, disgorgement, restitution, injunctive

relief, attorneys’ fees, and costs for herself and on behalf of a proposed class of “[a]ll consumers

within the State of Illinois who purchased one or more of the Class Products in Illinois during the

Class Period.” (Compl. ¶ 42, Prayer for Relief.)

        7.      The “Class Period” is the time period “within the statute of limitations for this

action and extending until a Class is certified[.]” (Compl. ¶ 45.)

        8.      This case may be removed pursuant to 28 U.S.C. § 1332(d) as it is a proposed class

action in which the putative class consists of at least 100 members, there is minimal diversity, and

the amount in controversy exceeds $5,000,000, exclusive of interest and costs.

II.     VENUE

        9.      Venue is proper in this Court under 28 U.S.C. § 1441(a) because the removed action

was filed in the Circuit Court of Madison County, Illinois, a court encompassed by the Southern

District of Illinois, East St. Louis Division.

III.    REMOVAL PURSUANT TO CLASS ACTION FAIRNESS ACT OF 2005

        10.     This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1332(d).

Under the Class Action Fairness Act (“CAFA”), federal district courts have original jurisdiction

when: (1) the putative class consists of at least 100 members; (2) the citizenship of at least one

proposed class member is different from that of any defendant; and (3) the aggregated amount in

controversy exceeds $5,000,000, exclusive of interest and costs. 28 U.S.C. § 1332(d).


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       A.      There Are More Than 100 Putative Class Members

       11.     Plaintiff purports to represent a class of “[a]ll consumers within the State of Illinois

who purchased one or more of the Class Products in Illinois during the Class Period.” The “Class

Period” is the time period “within the statute of limitations for this action and extending until a

Class is certified[.]” (Compl. ¶¶ 42, 45.)

       12.     Plaintiff’s complaint identifies numerous Essential Everyday-brand ground coffee

products sold in Illinois during the putative class period. (Compl. ¶¶ 18-20.)

       13.     Plaintiff alleges that Supervalu is “one of the largest American wholesaler and

retailer of grocery products.” (Compl. ¶ 10.)

       14.     More than 100 persons have purchased one or more of the Products in Illinois

during the five years1 preceding the filing of this lawsuit. Accordingly, there are more than 100

putative class members.

       B.      Minimal Diversity Exists Between the Parties

       15.     Plaintiff is a citizen of Illinois. (See Compl. ¶ 5.) UNFI is a citizen of Delaware and

Rhode Island. (See Compl. ¶ 6.) Supervalu is a citizen of Delaware and Minnesota. (See Compl.

¶ 6.) Therefore, diversity of citizenship exists. 28 U.S.C. § 1332(d)(2)(A).

       C.      The Amount in Controversy Exceeds $5 Million in the Aggregate

       16.     Under 28 U.S.C. § 1332(d)(2), an action is removable under CAFA when “the

matter in controversy exceeds the sum or value of $5,000,000[.]” To determine whether the matter

in controversy exceeds the sum or value of $5,000,000, “the claims of the individual class members

shall be aggregated[.]” Id. § 1332(d)(6).


1
 Plaintiff’s unjust enrichment claim is subject to a five-year statute of limitations. Blanchard &
Assocs. v. Lupin Pharms., Inc., 900 F.3d 917, 922 (7th Cir. 2018) (citing 735 Ill. Comp. Stat. 5/13-
205; Mann v. Thomas Place, L.P., 976 N.E.2d 554, 557 (Ill. App. Ct. 2012)).



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        17.    The removing party does not need to establish what damages the plaintiff will

recover, but only how much is in controversy. Brill v. Countrywide Home Loans, Inc., 427 F.3d

446, 448 (7th Cir. 2005). For purposes of removal, Defendants need only make a “plausible

allegation” that the amount in controversy exceeds $5 million. Dart Cherokee Basin Operating

Co., LLC v. Owens, 574 U.S. 81, 89 (2014). A “good-faith estimate” is sufficient. Blomberg v.

Service Corp. Int’l, 639 F.3d 761, 763 (7th Cir. 2011). Once a defendant makes such a showing,

“the case belongs in federal court unless it is legally impossible for the plaintiff to recover that

much.” Spivey v. Vertrue, Inc., 528 F.3d 982, 986 (7th Cir. 2008). In other words, “the court has

subject matter jurisdiction unless it is clear ‘beyond a legal certainty that the plaintiff would under

no circumstances be entitled to recover the jurisdictional amount.’” Walsh Chiropractic, Ltd. v.

StrataCare, Inc., 752 F. Supp. 2d 896, 902 (S.D. Ill. 2010) (quoting Cadek v. Great Lakes

Dragaway, Inc., 58 F.3d 1209, 1212 (7th Cir. 1995)).

        18.    Assuming the truth of the allegations in the complaint, there is more than $5 million

in controversy, as required for removal by 28 U.S.C. § 1332(d)(2).2

        19.    Plaintiff purports to represent a class of “[a]ll consumers within the State of Illinois

who purchased one or more of the Class Products in Illinois during the Class Period,” i.e., during

the five years preceding the lawsuit, through the time any class would be certified. (Compl. ¶¶ 42,

45.)

        20.    Plaintiff alleges that she and the putative class have overpaid for the Products and

that Defendants have wrongfully retained her and the putative class members’ purchase price.



2
  By alleging here that Plaintiff might legally recover a judgment exceeding the jurisdictional
amount in controversy, Defendants neither confess any liability nor admit the appropriate amount
of damages if found liable for any part of Plaintiff’s claims. Defendants are only stating what the
stakes of the litigation could be. Brill, 427 F.3d at 449 (“Countrywide did not have to confess
liability in order to show that the [amount in] controversy exceeds the threshold.”).


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(Compl. ¶¶ 40-41, 66, 76, 84-86.) Among other things, Plaintiff seeks “full disgorgement and

restitution of the amounts Defendants have retained” as a result of the alleged conduct. (Compl.

¶ 88.) Plaintiff does not allege the specific amount sought, but these allegations, taken as true for

purposes of determining diversity jurisdiction under CAFA, plausibly indicate an amount in

controversy exceeding $5 million.

        21.     The Products at issue include Essential Everyday ground coffee products in several

varieties and sizes, including, among others, Classic Roast, French Roast, Supreme Blend, 100%

Colombian, and Breakfast Blend. (Compl. ¶¶ 20, 22-23.) Retail sales of the Products in Illinois

have been approximately $480,000 during the past five years. Assuming that it could be one year

before any class is certified, retail sales of the Products for the proposed class period would likely

exceed $560,000.

        22.     In addition to restitution and actual damages, Plaintiff seeks punitive damages and

injunctive relief (including a corrective advertising campaign) (see Prayer for Relief), both of

which are included for purposes of determining the amount in controversy. See Keeling v.

Esurance Inc. Co., 660 F.3d 273, 274-75 (7th Cir. 2011); Sabrina Roppo v. Travelers Comm. Ins.

Co., 869 F.3d 568, 582 (7th Cir. 2017); Rauschkolb v. Chattem, Inc., 2016 WL 403495, at *2 (S.D.

Ill. Feb. 3, 2016).

        23.     Federal courts in Illinois have recognized that it is plausible for a defendant to be

liable for punitive damage awards using multipliers of nine, and even higher. Keeling, 660 F.3d at

275 (recognizing single-digit ratio); Robinson v. Avanquest North. Am. Inc., 2015 WL 196343, at

*4-5 (N.D. Ill. Jan. 13, 2015) (same); Johnson v. Pushpin Holdings, LLC, 2014 WL 3953451, at

*2-3 (N.D. Ill. Aug. 13, 2014) (recognizing 9:1 ratio); see Mathias v. Accor Economy Lodging,

Inc., 347 F.3d 672 (7th Cir. 2003) (affirming 37:1 ratio). A 9:1 multiplier here would be $5,040,000




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(9 x $560.000). Accordingly, the potential actual and punitive damages alone satisfy the amount

in controversy.

       24.        The Court must also consider the value of the injunctive relief Plaintiff seeks.

Keeling, 660 F.3d at 274. Plaintiff seeks “injunctive relief as permitted by law or equity, including,

but not limited to, enjoining Defendants from continuing the unlawful practices … and ordering

Defendants to engage in a corrective advertising campaign.” (Prayer for Relief.) As another court

in this district found, the cost of “a corrective advertising campaign, a label change, and removing

products from the shelf” would be “significant.” Rauschkolb, 2016 WL 403495, at *3. In addition,

there is the value of the prospective relief to future purchasers of the Products, which also would

be significant. See Keeling, 660 F.3d at 274; Macken v. Jensen, 333 F.3d 797, 799-800 (7th Cir.

2003) (finding that injunctive relief may be valued from the perspective of “what the plaintiff

stands to gain, or what it would cost the defendant to meet the plaintiff’s demand”).

       25.        Taking into account the sales of the Products during the proposed class period, and

the possibility of substantial awards for punitive damages and injunctive relief, the total amount in

controversy exceeds $5 million.

IV.    COMPLIANCE WITH PREREQUISITES FOR REMOVAL

       26.        A completed civil cover sheet is attached hereto as Exhibit B. Pursuant to 28 U.S.C.

§ 1446(a), attached hereto as Exhibit C is a true and correct copy of all other process, pleadings,

and orders served upon Defendants in this matter.

       27.        Pursuant to 28 U.S.C. § 1446(d), promptly upon filing of this Notice of Removal,

copies thereof will be sent to Plaintiff’s counsel and filed with the Clerk of the Court in the state

court action.

       28.        Defendants reserve the right to amend or supplement this Notice of Removal, and

reserve all rights and defenses, including those available under Federal Rule of Civil Procedure


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12.

        29.     This Notice of Removal is timely. Supervalu was served with a summons and copy

of the complaint on or about March 26, 2021. UNFI was served with a summons and copy of the

complaint on or about March 29, 2021.

V.      JURY DEMAND

        30.     Plaintiff has demanded a trial by jury in this action. Defendants also demand a trial

by jury in this action on all issues.

        WHEREFORE, Defendants Supervalu Inc. and United Natural Foods, Inc. give notice of

the removal of this action from the Circuit Court of Madison County, Illinois, to the United States

District Court for the Southern District of Illinois, East St. Louis Division.


Dated: April 23, 2021                           Respectfully submitted,

                                                SHOOK, HARDY & BACON L.L.P.

                                          By:    /s/ William F. Northrip
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                                                Attorneys for Defendants Supervalu Inc. and United
                                                Natural Foods, Inc.


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 23, 2021, the foregoing document was served upon the
following via the Court’s electronic filing system and/or electronic mail:

       Mark C. Goldenberg
       Thomas P. Rosenfeld
       Kevin P. Green
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       Attorneys for Plaintiff


                                                 /s/ William F. Northrip
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    EXHIBIT A
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      EXHIBIT B
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JS 44 (Rev. 10/20)                                                     CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                     DEFENDANTS
       Tayler Shelton                                                                                 Supervalu Inc. and United Natural Foods, Inc.

                                                               Montgomery County,
  (b) County of Residence of First Listed Plaintiff            IL                                     County of Residence of First Listed Defendant
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                       (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                       NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                  TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)
Mark C. Goldenberg                                                                                   William F. Northrip
Goldenberg Heller & Antognoli, PC                                                                    Shook, Hardy & Bacon L.L.P.
2227 South State Route 157                                                                           111 S. Wacker Drive, Suite 4700
Edwardsville, IL 62025 Tel: (618) 656-5150                                                           Chicago, IL 60606 Tel: (312) 704-7700
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                    III. CITIZENSHIP OF PRINCIPAL PARTIES                                       (Place an “X” in One Box for Plaintiff
                                                                                                    (For Diversity Cases Only)                                           and One Box for Defendant)
    1 U.S. Government                   3 Federal Question                                                                   PTF           DEF                                           PTF      DEF
         Plaintiff                          (U.S. Government Not a Party)                      Citizen of This State             1             1     Incorporated or Principal Place         4      4
                                                                                                                                                       of Business In This State

    2 U.S. Government                   4 Diversity                                            Citizen of Another State                              Incorporated and Principal Place            5        5
                                                                                                                                      2        2
        Defendant                           (Indicate Citizenship of Parties in Item III)                                                               of Business In Another State
                                                                                               Citizen or Subject of a
                                                                                                                                      3        3     Foreign Nation                              6        6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                           Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                             TORTS                             FORFEITURE/PENALTY                           BANKRUPTCY                       OTHER STATUTES
    110 Insurance                    PERSONAL INJURY            PERSONAL INJURY                    625 Drug Related Seizure               422 Appeal 28 USC 158               375 False Claims Act
    120 Marine                        310 Airplane              365 Personal Injury -                  of Property 21 USC 881             423 Withdrawal                      376 Qui Tam (31 USC
    130 Miller Act                    315 Airplane Product          Product Liability              690 Other                                 28 USC 157                            3729(a))
    140 Negotiable Instrument               Liability           367 Health Care/                                                                                              400 State Reapportionment
                                                                                                                                          PROPERTY RIGHTS
    150 Recovery of Overpayment       320 Assault, Libel &         Pharmaceutical                                                                                             410 Antitrust
                                                                                                                                          820 Copyrights
      & Enforcement of Judgment             Slander                Personal Injury                                                                                            430 Banks and Banking
                                                                   Product Liability                                                      830 Patent
    151 Medicare Act                  330 Federal Employers’                                                                                                                  450 Commerce
                                                                368 Asbestos Personal                                                     835 Patent - Abbreviated
    152 Recovery of Defaulted               Liability                                                                                                                         460 Deportation
                                                                   Injury Product                                                             New Drug Application
         Student Loans                340 Marine                                                                                                                              470 Racketeer Influenced and
                                                                   Liability                                                              840 Trademark
         (Excludes Veterans)          345 Marine Product                                                                                                                           Corrupt Organizations
                                                               PERSONAL PROPERTY                           LABOR                          880 Defend Trade Secrets
    153 Recovery of Overpayment             Liability                                                                                                                         480 Consumer Credit
                                                                370 Other Fraud                    710 Fair Labor Standards                   Act of 2016
        of Veteran’s Benefits         350 Motor Vehicle                                                                                                                           (15 USC 1681 or 1692)
    160 Stockholders’ Suits                                     371 Truth in Lending                    Act                               SOCIAL SECURITY
                                      355 Motor Vehicle                                                                                                                       485 Telephone Consumer
    190 Other Contract                      Product Liability   380 Other Personal                 720 Labor/Management                   861 HIA (1395ff)                        Protection Act
    195 Contract Product Liability    360 Other Personal             Property Damage                   Relations                          862 Black Lung (923)                490 Cable/Sat TV
                                           Injury               385 Property Damage                740 Railway Labor Act                  863 DIWC/DIWW (405(g))
    196 Franchise                                                                                                                                                             850 Securities/Commodities/
                                      362 Personal Injury -          Product Liability             751 Family and Medical                 864 SSID Title XVI                       Exchange
                                           Medical Malpractice                                         Leave Act                          865 RSI (405(g))                    890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation                                                 891 Agricultural Acts
    210 Land Condemnation             440 Other Civil Rights         Habeas Corpus:                791 Employee Retirement                FEDERAL TAX SUITS                   893 Environmental Matters
                                                                      463 Alien Detainee               Income Security Act                                                    895 Freedom of Information
    220 Foreclosure                   441 Voting                                                                                           870 Taxes (U.S. Plaintiff
    230 Rent Lease & Ejectment        442 Employment                  510 Motions to Vacate                                                or Defendant)                           Act
    240 Torts to Land                 443 Housing/                         Sentence                                                        871 IRS—Third Party                896 Arbitration
    245 Tort Product Liability             Accommodations             530 General                                                          26 USC 7609                        899 Administrative Procedure
    290 All Other Real Property       445 Amer. w/Disabilities-       535 Death Penalty                                                                                            Act/Review or Appeal of
                                           Employment                Other:                           IMMIGRATION                                                                  Agency Decision
                                      446 Amer. w/Disabilities-       540 Mandamus & Other         462 Naturalization Application                                             950 Constitutionality of
                                           Other                      550 Civil Rights             465 Other Immigration                                                           State Statutes
                                      448 Education                   555 Prison Condition             Actions
                                                                      560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement
V. ORIGIN (Place an “X” in One Box Only)
   1 Original                2 Removed from               3       Remanded from             4 Reinstated or          5 Transferred from                6    Multidistrict                8 Multidistrict
     Proceeding                State Court                        Appellate Court             Reopened                 Another District                     Litigation-                    Litigation -
                                                                                                                          (specify)                         Transfer                       Direct File
                                      Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                      28 U.S.C. §§ 1332(d) , 1441, 1446, 1453
VI. CAUSE OF ACTION                   Brief description of cause:
                                      Alleged mislabeling of coffee products.
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                         CHECK YES only if demanded in complaint:
      COMPLAINT:                            UNDER RULE 23, F.R.Cv.P.                                                                               JURY DEMAND:            Yes     No
VIII. RELATED CASE(S)                    (See instructions):
      IF ANY                                                      JUDGE        Gilbert C. Sison                                           DOCKET NUMBER                3:21-cv-199-GCS

DATE    April 23, 2021                                               SIGNATURE OF ATTORNEY OF RECORD /s/ William F. Northrip

                                                                                                                                                              American LegalNet, Inc.
                                                                                                                                                              www.FormsWorkFlow.com
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FOR OFFICE USE ONLY
 RECEIPT #            AMOUNT           APPLYING IFP          JUDGE          MAG. JUDGE




                                                                             American LegalNet, Inc.
                                                                             www.FormsWorkFlow.com
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JS 44 Reverse (Rev. 10/20)

                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
     (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
     (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.       Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
          in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
          United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
          United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
          Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
          to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
          precedence, and box 1 or 2 should be marked.
          Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
          citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
          cases.)

III.      Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
          section for each principal party.

IV.       Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
          that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.        Origin. Place an "X" in one of the seven boxes.
          Original Proceedings. (1) Cases which originate in the United States district courts.
          Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
          Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
          date.
          Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
          Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
          multidistrict litigation transfers.
          Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
          Section 1407.
          Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
          PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
          changes in statue.

VI.       Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
          statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.      Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
          Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
          Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII.     Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
          numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




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Continuation Sheet

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